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 8                               UNITED STATES DISTRICT COURT
 9              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10
      JIANHUA HAO,                                           Case No: 2:21-cv-08269 JFW (PDx)
11
                   Plaintiff,                                [Los Angeles Superior Court Action
12
                                                             No.: 21STCV20071]
13    v.
                                                             ORDER RE STIPULATION TO
14    COSTCO WHOLESALE CORP. and DOES 1                      AMEND THE COMPLAINT
      TO 50,                                                 AND REMAND CASE TO
15                                                           STATE COURT
                   Defendants.
16

17
                                                ORDER
18
      GOOD CAUSE HAVING BEEN SHOWN, the Court grants the stipulated request and orders the
19    following:
20
      1.    Plaintiff is granted leave to amend the complaint to add Arctic Cooling Systems, LLC as
21          a Defendant.

22    2.    The matter is remanded back to state court in the Superior Court of California, County of
23          Los Angeles.

24    IT IS SO ORDERED.

25    Dated: November 9, 2021                    ____________________________
26                                                     Hon. John F. Walter

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